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 5
 6
 7
 8                        UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT OF CALIFORNIA
10
11                                 )              Case No.
     CHARLES REINHARDT,
12                                 )
                                   )
13              Plaintiff,         )
                                   )              COMPLAINT FOR
14                                 )              VIOLATIONS OF THE
                vs.                )              FEDERAL SECURITIES
15                                 )              LAWS
     NORTONLIFELOCK INC., SUSAN P. )
16                                 )              JURY TRIAL DEMANDED
     BARSAMIAN, ERIC K. BRANDT,    )
17   FRANK E. DANGEARD, NORA M.    )
     DENZEL, PETER A. FELD,        )
18                                 )
     KENNETH Y. HAO, EMILY HEATH, )
19   VINCENT PILETTE, and SHERRESE )
     M. SMITH,                     )
20                                 )

21                        Defendants.

22
23
24         Plaintiff Charles Reinhardt (“Plaintiff”), on behalf of himself and all others
25
     similarly situated, upon information and belief, including an examination and inquiry
26
27 conducted by and through his counsel, except as to those allegations pertaining to
28
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 1 Plaintiff, which are alleged upon personal belief, alleges the following for his
 2 Complaint:
 3
                                NATURE OF THE ACTION
 4
 5         1. This is an action brought by Plaintiff against NortonLifeLock Inc.

 6 (“NortonLifeLock” or the “Company”) and the members of NortonLifeLock’s Board
 7
     of Directors (the “Board” or the “Individual Defendants”) for their violations of
 8
 9 Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”),
10 15 U.S.C. §§ 78n(a), 78t(a), and U.S. Securities and Exchange Commission (“SEC”)
11
   Rule 14a-9, 17 C.F.R. § 240.14a-9, and to enjoin the vote on a proposed transaction,
12
13 pursuant to which NortonLifeLock will acquire Avast plc (“Avast”) through
14 NortonLifeLock’s subsidiary Nitro Bidco Limited (“Bidco”) (the “Proposed
15
   Transaction”).
16
17       2. On August 10, 2021, NortonLifeLock and Avast issued a joint press release
18   announcing that they had entered into a Co-operation Agreement, dated August 10,
19
     2021 (the “Merger Agreement”). Under the terms of the Merger Agreement, Avast
20
21   shareholders will be entitled to elect to receive either: (i) $7.61 in cash and 0.0302 of
22   a share of Company common stock (the “Majority Cash Option”); or (ii) $2.37 in cash
23
     and 0.1937 of a Company share (the “Majority Stock Option”) (the “Merger
24
25   Consideration”).
26         3. On October 4, 2021, NortonLifeLock filed a Schedule 14A Definitive Proxy
27
     Statement (the “Proxy Statement”) with the SEC.          The Proxy Statement, which
28
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 1 recommends that NortonLifeLock stockholders vote in favor of the issuance of new
 2 Company stock in connection with the Proposed Transaction (the “Stock Issuance”),
 3
     omits or misrepresents material information concerning, among other things: (i)
 4
 5 NortonLifeLock’s and Avast’s financial projections; and (ii) the data and inputs
 6 underlying the financial valuation analyses that support the fairness opinion provided
 7
     by the Company’s financial advisor Evercore Group L.L.C. (“Evercore”). Defendants
 8
 9 authorized the issuance of the false and misleading Proxy Statement in violation of
10 Sections 14(a) and 20(a) of the Exchange Act.
11
          4. In short, unless remedied, NortonLifeLock’s public stockholders will be
12
13 irreparably harmed because the Proxy Statement’s material misrepresentations and
14 omissions prevent them from making a sufficiently informed voting decision on the
15
   Stock Issuance. Plaintiff seeks to enjoin the stockholder vote on the Stock Issuance
16
17 unless and until such Exchange Act violations are cured.
18                             JURISDICTION AND VENUE
19
           5. This Court has jurisdiction over the claims asserted herein for violations of
20
21 Sections 14(a) and 20(a) of the Exchange Act and Rule 14a-9 promulgated thereunder
22 pursuant to Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. §1331
23
   (federal question jurisdiction).
24
25         6. The Court has jurisdiction over defendants because each defendant is either a
26 corporation that conducts business in and maintains operations in this District, or is an
27
   individual who has sufficient minimum contacts with this District so as to render the
28
                                            -3-
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 1 exercise of jurisdiction by this Court permissible under traditional notions of fair play
 2 and substantial justice.
 3
           7. Venue is proper in this District under Section 27 of the Exchange Act, 15
 4
 5 U.S.C. § 78aa, as well as under 28 U.S.C. § 1391 because: (i) the Company maintains
 6 offices in this District; and (ii) defendants have received substantial compensation in
 7
     this District by doing business here and engaging in numerous activities that had an
 8
 9 effect in this District.
10                                      THE PARTIES
11
           8. Plaintiff is, and has been at all times relevant hereto, a continuous stockholder
12
13 of NortonLifeLock.
14         9. Defendant NortonLifeLock is a Delaware corporation, with its principal
15
     executive offices located at 60 E. Rio Salado Parkway, Suite 1000, Tempe, Arizona
16
17 85281 and offices located in Culver City, California. NortonLifeLock is a global leader
18 in consumer Cyber Safety, protecting and empowering people to live their digital lives
19
   safely. NortonLifeLock’s shares trade on the Nasdaq Global Select Market under the
20
21 ticker symbol “NLOK.”
22         10.    Defendant Susan P. Barsamian (“Barsamian”) has been a director of the
23
     Company since 2019.
24
25         11.    Defendant Eric K. Brandt (“Brandt”) has been a director of the Company
26 since 2020.
27
28
                                  -4-
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 1         12.     Defendant Frank E. Dangeard (“Dangeard”) has been Chairman of the

 2 Board since December 2019, and a director of the Company since January 2007.
 3
           13.     Defendant Nora M. Denzel (“Denzel”) has been a director of the Company
 4
 5 since 2019.
 6         14.     Defendant Peter A. Feld (“Feld”) has been a director of the Company
 7
     since 2018.
 8
 9         15.     Defendant Kenneth Y. Hao (“Hao”) has been a director of the Company

10 since March 2016.
11
          16. Defendant Emily Heath (“Heath”) has been a director of the Company
12
13 since January 2021.
14         17.     Defendant Vincent Pilette (“Pilette”) is Chief Executive Officer (“CEO”)
15
     of the Company, and has been a director since 2019.
16
17         18.     Defendant Sherrese M. Smith (“Smith”) has been a director of the
18 Company since January 2021.
19
        19. Defendants identified in paragraphs 10-18 are referred to herein as the
20
21 “Board” or the “Individual Defendants.”
22                             OTHER RELEVANT ENTITIES
23
           20.     Avast is a public company incorporated in England and Wales, with its
24
25 principal executive offices located at Pikrtova 1737/1a, 140 00 Prague 4, Czech
26 Republic. It is a leading global cybersecurity provider that is dedicated to keeping
27
   people safe and private online. Avast safeguards more than 435 million users
28
                                           -5-
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 1 worldwide, protecting their digital data, identity and privacy, with 1.5 billion attacks
 2 and over 200 million new files blocked each month on average in 2020. Avast offers
 3
     security software under the Avast and AVG brands, in the form of both free and paid-
 4
 5 for products. Avast has customers in the vast majority of countries around the world.
 6 Avast’s shares trade on the London Stock Exchange under the ticker symbol “AVST.”
 7
           21.   Bidco is a private company incorporated in England and Wales and a
 8
 9 wholly-owned subsidiary of NortonLifeLock.
10
                            SUBSTANTIVE ALLEGATIONS
11
12 Background of the Company
13         22.   Founded in 1982, NortonLifeLock is a leading provider of consumer
14
     cyber safety solutions built around protecting and empowering people to live their
15
     digital lives safely. NortonLifeLock serves over 80 million users in more than 150
16
17 countries, including 23 million direct customers.
18
           23.   NortonLifeLock’s service offerings is positioned across three key cyber
19
     safety pillars: Security, providing protection for PCs, Macs and mobile devices against
20
21 malware, viruses, adware, ransomware and other online threats; Identity Protection,
22
     which includes monitoring, alerts and restoration services to protect the safety of
23
24 customers; and Online Privacy, which provides enhanced security and online privacy
25 through an encrypted data tunnel and other privacy monitoring services.
26
           24.   NortonLifeLock’s subscription-based cyber safety solutions are primarily
27
28 sold direct-to-consumer through its NortonLifeLock and Avira websites, and indirectly
                                            -6-
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 1 through partner relationships with retailers, telecom service providers, hardware
 2 original equipment manufacturers, and employee benefit providers. The acquisition of
 3
     Avira in 2020 expanded NortonLifeLock’s go-to-market into the freemium channel.
 4
 5         25.   On July 27, 2021, NortonLifeLock announced its first quarter fiscal year

 6 2022 financial results. GAAP revenue was $686 million during the quarter, up 12%
 7
     compared to the same quarter of the prior year. First quarter non-GAAP diluted EPS
 8
 9 was $0.42, up 35% year over year. Non-GAAP operating margin was 51.2%, up 410
10 bps from the prior year quarter. Bookings increased 12% in USD to $660 million.
11
   Direct customer count was 23.1 million, up 2.6 million from the year ago period.
12
13 Reflecting on the Company’s results and looking towards the future, defendant Pilette
14 stated:
15
          Our Cyber Safety platform is designed to evolve to meet the needs of a
16
17        consumer’s digital life. This quarter reflects our strong execution and
18         accelerating pace of innovation as we strengthen our foundation for long-
19
           term sustainable growth and bring our Cyber Safety offering to even more
20
21         people.
22 The Proposed Transaction
23
          26. On August 10, 2021, NortonLifeLock and Avast issued a joint press
24
25 release announcing the Proposed Transaction. The press release states, in relevant part:
26
27
28
                                  -7-
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1        TEMPE, Ariz. & PRAGUE & LONDON -- NortonLifeLock (NASDAQ:

2        NLOK), a global leader in consumer Cyber Safety, and Avast (LSE:
3
         AVST), a global leader in digital security and privacy, are pleased to
4
5        announce that they have reached agreement on the terms of a

6        recommended merger of Avast with NortonLifeLock, in the form of a
7
         recommended offer by NortonLifeLock, for the entire issued and to be
8
9        issued ordinary share capital of Avast.

10
11       Under the terms of the merger Avast shareholders will be entitled to

12       receive a combination of cash consideration and newly issued shares in
13
         NortonLifeLock with alternative consideration elections available. Based
14
15       on NortonLifeLock’s closing share price of USD 27.20 on July 13, 2021

16       (being the last trading day for NortonLifeLock shares before market
17
         speculation began in relation to the merger on July 14, 2021, resulting in
18
19       the commencement of the offer period), the merger values Avast’s entire

20       issued and to be issued ordinary share capital between approximately USD
21
         8.1B and USD 8.6B, depending on Avast shareholders’ elections.
22
23
         The boards of NortonLifeLock and Avast believe that the merger has
24
25       compelling strategic and financial rationale and represents an attractive

26       opportunity to create a new, industry-leading consumer Cyber Safety
27
         business, leveraging the established brands, technology and innovation of
28
                                -8-
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1        both groups to deliver substantial benefits to consumers, shareholders, and

2        other stakeholders.
3
4        “This transaction is a huge step forward for consumer Cyber Safety and
5
         will ultimately enable us to achieve our vision to protect and empower
6
         people to live their digital lives safely,” said Vincent Pilette, Chief
7
8        Executive Officer of NortonLifeLock. “With this combination, we can
9
         strengthen our Cyber Safety platform and make it available to more than
10
11       500 million users. We will also have the ability to further accelerate

12       innovation to transform Cyber Safety.”
13
14       “At a time when global cyber threats are growing, yet cyber safety
15
         penetration remains very low, together with NortonLifeLock, we will be
16
         able to accelerate our shared vision of providing holistic cyber protection
17
18       for consumers around the globe,” said Ondřej Vlček, Chief Executive
19
         Officer of Avast. “Our talented teams will have better opportunities to
20
         innovate and develop enhanced solutions and services, with improved
21
22       capabilities from access to superior data insights. Through our well-
23
         established brands, greater geographic diversification and access to a
24
25       larger global user base, the combined businesses will be poised to access

26       the significant growth opportunity that exists worldwide.”
27
28
                                -9-
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1         Strategic and Financial Benefits

2
      •   Accelerates the transformation of consumer Cyber Safety with over 500
3
4         million users;
5
      •   Combines Avast’s strength in privacy and NortonLifeLock’s strength in
6
          identity, creating a broad and complementary product portfolio, beyond
7
8         core security and towards adjacent trust-based solutions;
9
      •   Strengthens geographic diversification and facilitates expansion into the
10
11        SOHO / VSB segments;

12    •   Unlocks significant value creation through approximately USD 280
13
          million of annual gross cost synergies1, with additional upside potential
14
15        from new reinvestment capacity for innovation and growth;

16    •   Brings   together   two    strong   and   highly   experienced consumer-
17
          focused management teams.
18
19
          The Merger will also enhance the financial profile of the combined
20
          company through increased scale, long-term growth, cost synergies with
21
22        reinvestment capacity and strong cash flow generation supported by a
23
          resilient balance sheet, and is expected to drive double-digit EPS accretion
24
25        within the first full year following completion of the Merger and double-

26        digit revenue growth in the long-term.
27
28
                               - 10 -
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 1         Organization and Management

 2
           Following the completion of the transaction, NortonLifeLock’s CEO,
 3
 4         Vincent Pilette, will remain CEO, NortonLifeLock’s CFO, Natalie Derse,
 5
           will remain CFO, and Avast’s CEO, Ondřej Vlček, is expected to join
 6
           NortonLifeLock as President and become a member of the
 7
 8         NortonLifeLock Board of Directors. In addition, Pavel Baudiš, a co-
 9
           founder and current director of Avast, is expected to join the
10
11         NortonLifeLock Board as an independent director.

12
           On completion of the merger, the combined company will be dual
13
14         headquartered in Prague, Czech Republic, and Tempe, Arizona, USA, and
15
           will have a significant presence in the Czech Republic. The combined
16
           company will be listed on NASDAQ.
17
18 The Proxy Statement Contains Material Misstatements or Omissions
19
           27.   The defendants filed a materially incomplete and misleading Proxy
20
     Statement with the SEC and disseminated it to NortonLifeLock’s stockholders. The
21
22 Proxy Statement misrepresents or omits material information that is necessary for the
23
     Company’s stockholders to make an informed decision whether to vote in favor of the
24
25 Stock Issuance.
26         28.   Specifically, as set forth below, the Proxy Statement fails to provide
27
     Company stockholders with material information or provides them with materially
28
                                 - 11 -
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 1 misleading information concerning: (i) NortonLifeLock’s and Avast’s financial
 2 projections; and (ii) the data and inputs underlying the financial valuation analyses that
 3
     support the fairness opinion provided by the Company’s financial advisor Evercore.
 4
 5 Material Omissions Concerning NortonLifeLock’s and Avast’s Financial
 6 Projections
 7
           29.   The Proxy Statement omits material information regarding the financial
 8
 9 projections for NortonLifeLock and Avast.
10         30.   For example, the Proxy Statement fails to disclose the line items
11
     underlying NortonLifeLock’s and Avast’s (i) Adjusted EBITDA, (ii) Adjusted Net
12
13 Income, and (iii) Adjusted Unlevered Free Cash Flow.
14         31.   The omission of this information renders the statements in the “Certain
15
     Unaudited Prospective Financial Information” section of the Proxy Statement false
16
17 and/or materially misleading in contravention of the Exchange Act.
18 Material Omissions Concerning Evercore’s Financial Analyses
19
         32. The Proxy Statement omits material information regarding Evercore’s
20
21 financial analyses.
22         33.   The Proxy Statement describes Evercore’s fairness opinion and the
23
     various valuation analyses performed in support of its opinion.          However, the
24
25 description of Evercore’s fairness opinion and analyses fails to include key inputs and
26 assumptions underlying these analyses. Without this information, as described below,
27
   NortonLifeLock’s public stockholders are unable to fully understand these analyses
28
                                          - 12 -
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 1 and, thus, are unable to determine what weight, if any, to place on Evercore’s fairness
 2 opinion in determining whether to vote in favor of the Stock Issuance.
 3
           34.    With respect to Evercore’s Selected Publicly Traded Companies Analysis,
 4
 5 the Proxy Statement fails to disclose the individual multiples and financial metrics for
 6 each of the comparable companies observed in the analysis.
 7
           35.    With respect to Evercore’s Discounted Cash Flow Analysis of Avast, the
 8
 9 Proxy Statement fails to disclose: (i) quantification of the number of fully diluted shares
10 of Avast; (ii) quantification of Avast’s net debt (calculated as total debt and certain
11
   other debt-like items less cash) as of June 30, 2021; and (iii) quantification of the inputs
12
13 and assumptions underlying the discount rates ranging from 8.0% to 9.0%.
14         36.    With respect to Evercore’s Discounted Cash Flow Analysis of
15
     NortonLifeLock, the Proxy Statement fails to disclose: (i) quantification of the number
16
17 of fully diluted shares of NortonLifeLock; (ii) quantification of NortonLifeLock’s net
18 debt (calculated as debt less cash and equity investments) as of July 2, 2021; and (iii)
19
   quantification of the inputs and assumptions underlying the discount rates ranging from
20
21 8.0% to 9.0%.
22         37.    With respect to Evercore’s Equity Research Analyst Price Targets
23
     analysis, the Proxy Statement fails to disclose each of the price targets observed and
24
25 the source thereof.
26
27
28
                                 - 13 -
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 1         38.      With respect to Evercore’s Premiums Paid Analysis, the Proxy Statement

 2 fails to disclose the individual premiums for each of the selected transactions analyzed
 3
     by Evercore.
 4
 5         39.      Without such undisclosed information, NortonLifeLock stockholders

 6 cannot evaluate for themselves whether the financial analyses performed by Evercore
 7
     were based on reliable inputs and assumptions or whether they were prepared with an
 8
 9 eye toward ensuring that a positive fairness opinion could be rendered in connection
10 with the Proposed Transaction. In other words, full disclosure of the omissions
11
   identified above is required in order to ensure that stockholders can fully evaluate the
12
13 extent to which Evercore’s opinion and analyses should factor into their decision
14 whether to vote in favor of or against the Stock Issuance.
15
         40. The omission of this information renders the statements in the “Opinion
16
17 of Evercore -- Financial Advisor to NortonLifeLock” and “Certain VICI Unaudited
18 Prospective Financial Information” sections of the Proxy Statement false and/or
19
   materially misleading in contravention of the Exchange Act.
20
21       41. The Individual Defendants were aware of their duty to disclose the above-
22 referenced omitted information and acted negligently (if not deliberately) in failing to
23
   include this information in the Proxy Statement. Absent disclosure of the foregoing
24
25 material information prior to the stockholder vote on the Proposed Transaction,
26 Plaintiff and the other stockholders of NortonLifeLock will be unable to make an
27
28
                                 - 14 -
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 1 informed voting decision in connection with the Proposed Transaction and are thus
 2 threatened with irreparable harm warranting the injunctive relief sought herein.
 3
                                      CLAIMS FOR RELIEF
 4
                                              COUNT I
 5
 6          Claims Against All Defendants for Violations of Section 14(a) of the
 7                 Exchange Act and Rule 14a-9 Promulgated Thereunder
 8
           42.     Plaintiff repeats all previous allegations as if set forth in full.
 9
10         43.     During the relevant period, defendants disseminated the false and
11
     misleading Proxy Statement specified above, which failed to disclose material facts
12
     necessary to make the statements, in light of the circumstances under which they were
13
14 made, not misleading in violation of Section 14(a) of the Exchange Act and SEC Rule
15
     14a-9 promulgated thereunder.
16
           44.     By virtue of their positions within the Company, the defendants were
17
18 aware of this information and of their duty to disclose this information in the Proxy
19
     Statement. The Proxy Statement was prepared, reviewed, and/or disseminated by the
20
     defendants.    It misrepresented and/or omitted material facts, including material
21
22 information about NortonLifeLock’s and Avast’s financial projections and the data and
23
     inputs underlying the financial valuation analyses that support the fairness opinion
24
25 provided by Evercore. The defendants were at least negligent in filing the Proxy
26 Statement with these materially false and misleading statements.
27
28
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 1         45.    The omissions and false and misleading statements in the Proxy Statement

 2 are material in that a reasonable stockholder would consider them important in deciding
 3
     how to vote on the Stock Issuance.
 4
 5         46.    By reason of the foregoing, the defendants have violated Section 14(a) of

 6 the Exchange Act and SEC Rule 14a-9(a) promulgated thereunder.
 7
           47.    Because of the false and misleading statements in the Proxy Statement,
 8
 9 Plaintiff is threatened with irreparable harm, rendering money damages inadequate.
10 Therefore, injunctive relief is appropriate to ensure defendants’ misconduct is
11
   corrected.
12
13                                    COUNT II

14                      Claims Against the Individual Defendants for
15
                        Violations of Section 20(a) of the Exchange Act
16
           48.    Plaintiff repeats all previous allegations as if set forth in full.
17
18         49.    The    Individual    Defendants      acted    as   controlling    persons   of
19
     NortonLifeLock within the meaning of Section 20(a) of the Exchange Act as alleged
20
     herein. By virtue of their positions as officers and/or directors of NortonLifeLock, and
21
22 participation in and/or awareness of the Company’s operations and/or intimate
23
     knowledge of the false statements contained in the Proxy Statement filed with the SEC,
24
25 they had the power to influence and control and did influence and control, directly or
26 indirectly, the decision-making of the Company, including the content and
27
28
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 1 dissemination of the various statements which Plaintiff contends are false and
 2 misleading.
 3
           50.    Each of the Individual Defendants was provided with or had unlimited
 4
 5 access to copies of the Proxy Statement and other statements alleged by Plaintiff to be
 6 misleading prior to and/or shortly after these statements were issued and had the ability
 7
     to prevent the issuance of the statements or cause the statements to be corrected.
 8
 9         51.    In particular, each of the Individual Defendants had direct and supervisory

10 involvement in the day-to-day operations of the Company, and, therefore, is presumed
11
   to have had the power to control or influence the particular transactions giving rise to
12
13 the securities violations as alleged herein, and exercised the same. The Proxy
14 Statement at issue contains the unanimous recommendation of each of the Individual
15
   Defendants to approve the Proposed Transaction. They were, thus, directly involved
16
17 in the making of the Proxy Statement.
18         52.    In addition, as the Proxy Statement sets forth at length, and as described
19
     herein, the Individual Defendants were each involved in negotiating, reviewing, and
20
21 approving the Proposed Transaction. The Proxy Statement purports to describe the
22 various issues and information that they reviewed and considered—descriptions the
23
   Company directors had input into.
24
25         53.    By virtue of the foregoing, the Individual Defendants have violated
26 Section 20(a) of the Exchange Act.
27
28
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 1         54.    As set forth above, the Individual Defendants had the ability to exercise

 2 control over and did control a person or persons who have each violated Section 14(a)
 3
     and SEC Rule 14a-9, promulgated thereunder, by their acts and omissions as alleged
 4
 5 herein. By virtue of their positions as controlling persons, these defendants are liable
 6 pursuant to Section 20(a) of the Exchange Act. As a direct and proximate result of
 7
     defendants’ conduct, NortonLifeLock’s stockholders will be irreparably harmed.
 8
 9                                  PRAYER FOR RELIEF

10         WHEREFORE, Plaintiff demands judgment and preliminary and permanent
11
     relief, including injunctive relief, in his favor on behalf of NortonLifeLock, and against
12
13 defendants, as follows:
14         A.     Preliminarily and permanently enjoining defendants and all persons acting
15
                  in concert with them from proceeding with, consummating, or closing the
16
17                Proposed Transaction and any vote on the Stock Issuance, unless and until
18                defendants disclose and disseminate the material information identified
19
                  above to NortonLifeLock stockholders;
20
21         B.     In the event defendants consummate the Proposed Transaction, rescinding
22                it and setting it aside or awarding rescissory damages to Plaintiff;
23
           C.     Declaring that defendants violated Sections 14(a) and/or 20(a) of the
24
25                Exchange Act, as well as SEC Rule 14a-9 promulgated thereunder;
26         D.     Awarding Plaintiff the costs of this action, including reasonable allowance
27
                  for Plaintiff’s attorneys’ and experts’ fees; and
28
                                 - 18 -
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1         E.    Granting such other and further relief as this Court may deem just and
                proper.
2
3                                     JURY DEMAND

4         Plaintiff demands a trial by jury on all claims and issues so triable.
5    Dated: October 18, 2021                     WEISSLAW LLP
6                                                Joel E. Elkins
7                                                By: /s/ Joel E. Elkins
8
                                                 Joel E. Elkins
9                                                611 Wilshire Blvd., Suite 808
10                                               Los Angeles, CA 90017
                                                 Telephone: 310/208-2800
11                                               Facsimile: 310/209-2348
12                                                      -and-
                                                 Richard A. Acocelli
13                                               305 Broadway, 7th Floor
14                                               New York, NY 10007
                                                 Telephone: 212/682-3025
15                                               Facsimile: 212/682-3010
16
                                                 Attorneys for Plaintiff
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       COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
